Case 1:17-cV-08904-AT-KNF Document 5 Filed 11/16/17 Page 1 of 1

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Attomeys for Defendants,

The Northwestern Mutual Life Insurance Company
and Northwestern Mutual Life Foundation, Inc_

 

V.P. and P&P CPA, PC,
Plaintiffs,
v.

NORTHWESTERN MUTUAL LIFE
INSURANCE COMPANY, and its
predecessors and subsidiaries,
NORTHWESTERN MUTUAL LIFE
FOUNDATI()N, INC., and its
predecessors and subsidiaries,
NORTHWESTERN MUTUAL, INC.,
and its predecessors and subsidiaries,

Defendants.

l UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Civil Action No.:

 

 

CIVIL ACTION -- RULE 7.1 STATEMENT ON BEHALF
()F THE NORTHWESTERN MUTUAL LIFE INSURANCE COMPANY

 

The following is a list of all corporate parents that own more than 10% of The
Northwestern Mutual Life Insurance Company’$ Stock: NONE

Dated: November 15, 2017

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McELROY, DEUTSCH, MULVANEY

    
 
 
 

Attorneys e ndants,
The hw ern Mutual Life lnsurance Cornpany
cpbr£:tfe al Life Foundation, lnc.
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